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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

 American Foreign Service Association, et
 al.,

 Plaintiffs,

 v.

 President Donald J. Trump, et al.,
                                                Case No. 1:25-cv-00352
 Defendants.




      PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER

        Pursuant to Local Civil Rule 65.1(a), Plaintiffs American Foreign Service

Association and the American Federation of Government Employees hereby move for a

temporary restraining order directing Defendants to immediately cease actions to shut

down USAID’s operations in a manner not authorized by Congress until the Court can

further consider the merits. Plaintiffs request that the Court issue this order before 11:59

PM on February 7, 2025, the time by which virtually all USAID direct hire personnel will

be placed on administrative leave globally. Plaintiffs further request that the Court order

Defendants to file a status report within twenty-four hours of the issuance of any temporary

restraining order, and at regular intervals thereafter, confirming compliance with these

orders. As set forth in more detail in the accompanying brief, Defendants’ actions violate

the U.S. Constitutional principle of the separation of powers and the Take Care Clause.

They also violate the Administrative Procedure Act because they are in excess of Agency

Defendants’ statutory authority and are arbitrary and capricious. Plaintiffs will suffer
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imminent injury if this Court does not immediately intervene to enjoin Defendants’

ongoing, illegal scheme to gut USAID.

        Pursuant to Local Civil Rule 65.1(a), at 11:37 PM on February 6, 2025 counsel

for Plaintiffs emailed the three Assistant Directors for the Federal Programs Branch of

the Department of Justice a copy of the complaint and to provide actual notice that they

would file a motion for a temporary restraining order in the morning, seeking immediate

relief. At 7:02 AM on February 7, 2025, Department of Justice attorney Diane Kelleher

acknowledged receipt of the email. Immediately prior to making this application to the

Court, Plaintiffs electronic copies of the motion for temporary restraining order, and

accompanying brief, declarations, and proposed order via e-mail before completing this

electronic filing.




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Dated: February 7, 2025           Respectfully submitted,

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                                  *motion to appear pro hac vice forthcoming




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